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RYAN LAMAR WEDDLE
Randa|| W. Pierce Retained
Defense Attorney
294 Washington Avenue
Memphis, TN 38103

 

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After Novamber 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 11, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Titre & section N_MM§M Offense Number(s)
Conc|uded
21 U.S.C. § 846 Conspiracy to Possess with Intent to 05!01)'2002 1

Distribute in Excess of Five (5)
Ki|ograms of Cocaine

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 and 3 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 10/25/1975 September 02, 2005
Deft's U.S. Marsha| No.: 19477-076

Defendant's Mai|ing Address:
1015 E. Tickle Street, #A

oyersburg, TN 38024 /®BA€ UY) C OM
oN PH|PPs MCCALLA
u men TATEs DisTRicT wer

September ¢Q , 2005

 

Tnis document entered on the dcoket;|'/l?:t’lcn.§)ompllance
with Rule Sf~. and/or 32(b) FHCrP on

/M

 

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Case No: 2103CR20459-01-M| Defendant Name: Ryan Lamar WEDDLE Page 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 96 Months (or 8 Years).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshai.

RETU RN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:030R20459-01»Ml Defendant Name: Ryan Lamar WEDDLE Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 5 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district withoutthe permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation omcer to determine the use of any controlled substance‘,

7. The defendant shall not frequent places where controlled substances are illegally soici, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a

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Case No: 2:03CR20459-01-M| Defendant Name: Ryan Lamar WEDDLE Page 4 of 4

law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shaii permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a hne or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

3. The defendant shall obtain his Generai Equiva|ency Dipioma (G.E.D.).

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fu|i before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$1 00.00

The Speciai Assessment shall be due immediateiy.

FlNE
No fine imposed.

REST|TUTION
No Restitution was ordered.

 

DISTRICT COURT - W"'RTE DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 149 in
case 2:03-CR-20459 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Randali W. Pierce
WAMPLER & PIERCE
P.O. Box 34 l 0

i\/lemphis7 TN 3 8173--041

David Charies Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCaila
US DISTRICT COURT

